           Case 13-00923-8-SWH              Doc 152 Filed 11/20/18 Entered 11/20/18 15:36:06                               Page 1 of 2
0015-2V-EPIE2V-01083312-2106517          United  States Bankruptcy Court
                                                                       For The
                                               Eastern District of North Carolina Wilmington Division
          ANTHONY BUSH                                                                                          Case No.: 13-00923-8-SWH
          143 FRANCIS MARION DRIVE                                                                                SS #1: XXX-XX-2645
          WILMINGTON, NC 28411


                                                FINAL REPORT AND ACCOUNT
      This case was          MO. DAY YR.               The Plan was          MO. DAY YR.                   The Case was    MO. DAY YR.
      commenced on                                     confirmed on                                        concluded on
                              02    13   13                                   12    05   13                                    02   01   18
      Plan Completed
     Your trustee has maintained a detailed record of all receipts, including the source or other identification of each receipt and
 of all disbursements. Copies of these detailed records have been filed with the Court, or are attached hereto, and are incorporated
 by reference in this report.
 RECEIPTS: Amount paid to the Trustee by or for the Debtor for benefit of creditors.                                     $           92,914.00
DISBURSEMENTS TO CREDITORS                                                                                AMOUNT PAID               BALANCE
                                                      CLAIM                        AMOUNT
                                                                                                                                      DUE
                                  CREDITOR'S NAME    NUMBER CLASSIFICATION         ALLOWED         PRINCIPAL        INTEREST

ANTHONY BUSH                                          777 Refund                          0.00               0.00          0.00               0.00
BANK OF AMERICA                                       822 DirectPay                       0.00               0.00          0.00          DirectPay
RUSHMORE LOAN MANAGEMENT                              802 Secured                    71,503.61          71,503.61     11,650.79               0.00
NATIONSTAR MORTGAGE                                   003 Other                           0.00               0.00          0.00          Not Filed
INTERNAL REVENUE SERVICE                              002 Priority                      124.13             124.13          0.00               0.00
NC DEPARTMENT OF REVENUE                              004 Priority                        0.00               0.00          0.00          Not Filed
PENDER COUNTY TAX                                     006 Priority                      230.38             230.38          0.00               0.00
NCO FIN /99                                           005 Unsecured                       0.00               0.00          0.00          Not Filed
REVENUE SYSTEMS INC                                   007 Unsecured                       0.00               0.00          0.00          Not Filed
INTERNAL REVENUE SERVICE                              002 Unsecured                     182.46             182.46          0.00               0.00
INTERNAL REVENUE SERVICE                              008 Other                           0.00               0.00          0.00          Not Filed
PROBER & RAPHAEL                                      009 Other                           0.00               0.00          0.00          Not Filed
RICHARD M STEARNS                                   XFR-TR Ignore                         0.00               0.00          0.00               0.00
RUSHMORE LOAN MANAGEMENT                              801 Secured                       430.00             430.00          0.00               0.00
SEAN M CORCORAN, ATTORNEY                             010 Other                           0.00               0.00          0.00               0.00
JOSEPH A. BLEDSOE, III                              XFR-TR Ignore                         0.00               0.00          0.00               0.00
BANK OF AMERICA                                       011 Secured                       676.00             676.00          0.00               0.00
SHAPIRO & INGLE, LLP                                  012 Secured                         0.00               0.00          0.00               0.00
ANTHONY BUSH                                          999 Refund                        260.31             260.31          0.00               0.00




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                                                                           For The
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DISBURSEMENTS TO CREDITORS                                                                                     AMOUNT PAID                  BALANCE
                                                            CLAIM                       AMOUNT
                                                                                                                                              DUE
                                  CREDITOR'S NAME          NUMBER CLASSIFICATION        ALLOWED          PRINCIPAL          INTEREST

ANDREW VINING                                               013    Secured                        0.00             0.00              0.00          Not Filed

SUMMARY OF CLAIMS ALLOWED AND PAID:

                        SECURED             PRIORITY              GENERAL               LATE             SPECIAL             TOTAL
AMOUNT ALLOWED             72,609.61               354.51               182.46                 0.00            260.31         73,406.89      TOTAL PAID
                                                                                                                                              PRINCIPAL
 PRINCIPAL PAID            72,609.61               354.51               182.46                 0.00            260.31         73,406.89     AND INTEREST

  INTEREST PAID             11,650.79                 0.00                 0.00                0.00              0.00         11,650.79          85,057.68
OTHER DISBURSEMENT UNDER ORDER OF COURT
                                    DEBTOR'S ATTORNEY                              FEE ALLOWED                                 FEE PAID

                              ROBERT J. ANDERSON                                         3,200.00                             3,200.00
 COURT COSTS AND                                ADDITIONAL CHARGES                                TRUSTEE
  OTHER EXPENSES          FILING FEE                                                                                         OTHER
                                                 CLERK'S          .25 EACH CLAIM        EXPENSE          COMPENSATION
 OF ADMINISTRATION       AND DEPOSIT                                                                         FUND
                                                                                                                             COST
                                                CHARGES               OVER 10            FUND

                                    0.00               0.00                              2,428.61           2,227.71              0.00                 4,656.32

       WHEREFORE, your Petitioner prays that a Final Decree be entered discharging your Petitioner as Trustee and releasing your
Petitioner and The Trustee's surety from any and all liability on account of the within proceedings, and closing the estate, and for such
other and further relief as is just. Pursuant to FRBP 5009, I hereby certify that the above captioned case has been fully administered.

Dated: 11/20/2018                                                                              Joseph A. Bledsoe, III, Chapter 13 Trustee
                                                                                               P.O. Box 1618
                                                                                               New Bern, NC 28563




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